                                 Case 18-11699-MFW                            Doc 1         Filed 07/22/18                Page 1 of 28
 
Fill in this information to identify the case

United States Bankruptcy Court for the:

                          District of   Delaware
                                        (State)
Case number (If known):                                      Chapter       11

                                                                                                                                                   ☐ Check if this is
                                                                                                                                                   an amended filing

    Official Form 201
    Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                 04/16
    If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case number (if
    known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


    1.   Debtor’s name                            The NORDAM Group, Inc.

 
    2.   All other names debtor used
         in the last 8 years

         Include any assumed names, trade
         names, and doing business as
         names


 
    3.   Debtor’s federal Employer
         Identification Number (EIN)              XX-XXXXXXX

 
    4.   Debtor’s       Principal place of business                                                       Mailing address, if different from principal place of business
         address
                        6910                      North Whirlpool Drive
                        Number                    Street                                                  Number                      Street



                                                                                                          P.O. Box


                        Tulsa                     OK                 74117
                        City                      State              ZIP Code                             City                        State           ZIP Code

                                                                                                          Location of principal assets, if different from principal place
                                                                                                          of business
                        Tulsa County
                        County
                                                                                                          Number                      Street




                                                                                                          City                        State           ZIP Code



    5.   Debtor’s website (URL)                   www.nordam.com

 
    6.   Type of debtor                           ☒ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                                  ☐ Partnership (excluding LLP)
                                                  ☐ Other. Specify:



Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             Page 1

 
WEIL:\96595931\14\64643.0003 
Debtor                         Case
                 The NORDAM Group, Inc.    18-11699-MFW                   Doc 1         Filed 07/22/18     Page
                                                                                                   Case number        2 of 28
                                                                                                               (if known)
                 Name
 
                                               A. Check one:
    7.   Describe debtor’s business
                                               ☐   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               ☐   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               ☐   Railroad (as defined in 11 U.S.C. § 101(44))
                                               ☐   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                               ☐   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               ☐   Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               ☒   None of the above


                                               B. Check all that apply:
                                               ☐ Tax-exempt entity (as described in 26 U.S.C. § 501)
                                               ☐ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. § 80a-3)
                                               ☐ Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                               C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                                  http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                                   3364 - Aerospace Product and Parts Manufacturing
                                            
                                               Check one:
    8.   Under which chapter of the
         Bankruptcy Code is the                ☐ Chapter 7
         debtor filing?                        ☐ Chapter 9
                                               ☒ Chapter 11. Check all that apply:
                                                                ☐ Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                                  insiders or affiliates) are less than $2,566,050 (amount subject to adjustment
                                                                  on 4/01/19 and every 3 years after that).
                                                                ☐ The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                                  debtor is a small business debtor, attach the most recent balance sheet,
                                                                  statement of operations, cash-flow statement, and federal income tax return or
                                                                  if all of these documents do not exist, follow the procedure in 11 U.S.C. §
                                                                  1116(1)(B).
                                                                ☐ A plan is being filed with this petition.
                                                                ☐ Acceptances of the plan were solicited prepetition from one or more classes of
                                                                  creditors, in accordance with 11 U.S.C. § 1126(b).
                                                                ☐ The debtor is required to file periodic reports (for example, 10K and 10Q) with
                                                                  the Securities and Exchange Commission according to § 13 or 15(d) of the
                                                                  Securities Exchange Act of 1934. File the Attachment to Voluntary Petition for
                                                                  Non-Individuals Filing for Bankruptcy under Chapter 11 (Official Form 201A)
                                                                  with this form.
                                                                ☐ The debtor is a shell company as defined in the Securities Exchange Act of
                                                                  1934 Rule 12b-2.
                                               ☐ Chapter 12
 
    9.   Were prior bankruptcy cases           ☒ No
         filed by or against the debtor
                                               ☐ Yes        District                       When                          Case number
         within the last 8 years?
         If more than 2 cases, attach a                                                                  MM/ DD/ YYYY
         separate list.
                                                            District                       When                          Case number

                                                                                                         MM / DD/ YYYY
                                            
    10. Are any bankruptcy cases               ☐ No
        pending or being filed by a
                                               ☒ Yes        Debtor         See attached Schedule 1                       Relationship
        business partner or an
        affiliate of the debtor?                            District                                                     When
         List all cases. If more than 1,
                                                            Case number, if known                                                       MM / DD/ YYYY
         attach a separate list.

                                            

Official Form 201                                      Voluntary Petition for Non-Individuals Filing for Bankruptcy                                        Page 2

 
WEIL:\96595931\14\64643.0003 
Debtor                        Case
                The NORDAM Group, Inc.   18-11699-MFW                       Doc 1         Filed 07/22/18     Page
                                                                                                     Case number        3 of 28
                                                                                                                 (if known)
                Name
 
     11. Why is the case filed in this       Check all that apply:
         district?
                                             ☒      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                    immediately preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                             ☐      A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.
                                              

    12. Does the debtor own or have
                                             ☒ No
        possession of any real
        property or personal property        ☐ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
        that needs immediate                               Why does the property need immediate attention? (Check all that apply.)
        attention?                                         ☐    It poses or is alleged to pose a threat of imminent and identifiable hazard to public
                                                                health or safety.
                                                                What is the hazard?
                                                           ☐    It needs to be physically secured or protected from the weather.
                                                           ☐    It includes perishable goods or assets that could quickly deteriorate or lose value
                                                                without attention (for example, livestock, seasonal goods, meat, dairy, produce, or
                                                                securities-related assets or other options).


                                                           ☐ Other
 
                                                         Where is the property?
                                                                                            Number                 Street


                                                                                            City                              State               ZIP Code
                                                         Is the property insured?
                                                                                             ☐ No
                                                                                            ☐ Yes. Insurance agency
                                                                                                       Contact Name
                                                                                                       Phone




                Statistical and administrative information 



     13. Debtor’s estimation of          Check one:
         available funds                 ☒       Funds will be available for distribution to unsecured creditors.
                                         ☐       After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

     14. Estimated number of             
                                         ☐       1-49                                      ☒       1,000-5,000                        ☐   25,001-50,000
         creditors                       ☐       50-99                                     ☐       5,001-10,000                       ☐   50,001-100,000
         (on a consolidated basis)       ☐       100-199                                   ☐       10,001-25,000                      ☐   More than 100,000
                                         ☐       200-999

     15. Estimated assets                ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☒   $500,000,001-$1 billion
         (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000                         ☐       $50,000,001-$100 million           ☐   $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million                       ☐       $100,000,001-$500 million          ☐   More than $50 billion

     16. Estimated liabilities           ☐       $0-$50,000                                ☐       $1,000,001-$10 million             ☐   $500,000,001-$1 billion
         (on a consolidated basis)       ☐       $50,001-$100,000                          ☐       $10,000,001-$50 million            ☐   $1,000,000,001-$10 billion
                                         ☐       $100,001-$500,000                         ☐       $50,000,001-$100 million           ☐   $10,000,000,001-$50 billion
                                         ☐       $500,001-$1 million                       ☒       $100,000,001-$500 million          ☐   More than $50 billion


Official Form 201                                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               Page 3

 
WEIL:\96595931\14\64643.0003 
Case 18-11699-MFW   Doc 1   Filed 07/22/18   Page 4 of 28
                   Case 18-11699-MFW         Doc 1     Filed 07/22/18         Page 5 of 28



                                                 Schedule 1

                      Pending Bankruptcy Cases Filed by the Debtor and Its Affiliates

               On the date hereof, the debtor in this chapter 11 case and each of the affiliates
identified below, filed a voluntary petition for relief under chapter 11 of title 11 of the United
States Code in the United States Bankruptcy Court for the District of Delaware (the “Court”). A
motion will be filed with the Court requesting that the chapter 11 cases of the entities listed
below be consolidated for procedural purposes only and jointly administered, pursuant to Rule
1015(b) of the Federal Rules of Bankruptcy Procedure, under the case number assigned to the
chapter 11 case of The NORDAM Group, Inc.

                          COMPANY                     CASE NUMBER                   DISTRICT

            The NORDAM Group, Inc.                 Case No. 18-______ (___)          Delaware

            Nacelle Manufacturing 1 LLC            Case No. 18-______ (___)          Delaware

            Nacelle Manufacturing 23 LLC           Case No. 18-______ (___)          Delaware

            PartPilot LLC                          Case No. 18-______ (___)          Delaware

            TNG DISC, Inc.                         Case No. 18-______ (___)          Delaware




 
WEIL:\96595931\14\64643.0003 
              Case 18-11699-MFW           Doc 1        Filed 07/22/18   Page 6 of 28



                                    ACTION BY
                        JOINT UNANIMOUS WRITTEN CONSENT
                                       OF
                             THE NORDAM GROUP, INC.
                          NACELLE MANUFACTURING 1 LLC
                          NACELLE MANUFACTURING 23 LLC
                                 PARTPILOT LLC
                                  TNG DISC, INC.

                                           July 22, 2018

                The undersigned, being (a) all of the members of the board of directors, (b) all of
the managers of the board of managers, or (c) the sole member, as the case may be (in each case,
the “Governing Body”), of the entities specified on the signature pages hereto (each such entity
individually, a “Company”), do hereby consent to and adopt and approve by written consent, in
accordance with the laws of Delaware, the following resolutions and each and every action
effected thereby:

               WHEREAS, each Governing Body has reviewed and has had the opportunity to
ask questions about the materials presented by the management and the legal and financial
advisors of such Company regarding the liabilities and liquidity of such Company, the strategic
alternatives available to it, and the impact of the foregoing on such Company’s business;

               WHEREAS, each Governing Body has had the opportunity to consult with the
management and the legal and financial advisors of such Company to evaluate, and has
evaluated, the strategic alternatives available to such Company; and

               WHEREAS, each Governing Body desires to approve the following resolutions.

Commencement of Chapter 11 Cases

               NOW, THEREFORE, BE IT RESOLVED, that, with respect to each
Company, its Governing Body has determined, after consultation with the management and the
legal and financial advisors of such Company, that it is desirable and in the best interests of such
Company, its shareholders, creditors, and other parties in interest that a petition be filed with the
United States Bankruptcy Court for the District of Delaware (the “Bankruptcy Court”) by such
Company seeking relief under the provisions of chapter 11 of title 11 of the United States Code
(the “Bankruptcy Code”); and be it further

               RESOLVED, that any officer of such Company (each, an “Authorized
Person”), in each case, acting singly or jointly, be, and each hereby is, authorized, empowered,
and directed, with full power of delegation, to negotiate, execute, deliver, and file with the
Bankruptcy Court, in the name and on behalf of such Company, and under its corporate seal or
otherwise, all plans, petitions, schedules, statements, motions, lists, applications, pleadings,
papers, affidavits, declarations, orders and other documents (collectively, the “Chapter 11
Filings”) (with such changes therein and additions thereto as any such Authorized Person may
deem necessary, appropriate or advisable, the execution and delivery of any of the Chapter 11



                                                  1 
 
                   Case 18-11699-MFW    Doc 1        Filed 07/22/18   Page 7 of 28
 



Filings by any such Authorized Person with any changes thereto to be conclusive evidence that
any such Authorized Person deemed such changes to meet such standard); and be it further

                RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to take and perform any and all further acts
and deeds that such Authorized Person deems necessary, appropriate, or desirable in connection
with such Company’s chapter 11 case (each, a “Chapter 11 Case”) or the Chapter 11 Filings,
including (a) the payment of fees, expenses, and taxes such Authorized Person deems necessary,
appropriate, or desirable, and (b) negotiating, executing, delivering, performing, and filing any
and all additional documents, schedules, statements, lists, papers, agreements, certificates or
instruments (or any amendments or modifications thereto); and be it further

Appointment of Chief Restructuring Officer

               RESOLVED, that John C. DiDonato hereby is appointed Chief Restructuring
Officer of each Company, and shall be an Authorized Person authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of each Company, to (a) have
sole and complete disbursement authority for each Company (provided that an employee of each
Company may physically write the checks or initiate the disbursement therefor, including the
authority of the Chief Restructuring Officer to pay each Company’s legal and professional
advisory fees), (b) review and approve in advance all disbursements made by any Company
(including disbursements necessary to pay professional fees of any Company), (c) have authority
to make all decisions regarding day-to-day operations, (d) directly report, from time to time, to
the Restructuring Committee of the Governing Body of The NORDAM Group, Inc., (e) review
and approve in advance all asset sales outside of the ordinary course made by any Company, and
(f) take and perform any and all further acts and deeds deemed necessary, appropriate, or
desirable in connection with such Company’s Chapter 11 Case or the Chapter 11 Filings; and be
it further

Debtor-in-Possession Financing

               RESOLVED, that it is in the best interests of each Company to enter into, and
each Company will obtain benefits from, the lending transactions under that certain senior
secured, superpriority administrative expense debtor-in-possession revolving credit facility (the
“DIP Financing” and the credit agreement related thereto together with any exhibits and
schedules, collectively, the “DIP Credit Agreement”) in an aggregate principal amount of $45
million to be entered into between The NORDAM Group, Inc., as borrower, and PartPilot, LLC,
Nacelle Manufacturing 1, LLC, Nacelle Manufacturing 23, LLC, and TNG Disc, Inc., each as
guarantors, the lenders from time to time party thereto (the “Lenders”), and JPMorgan Chase
N.A., as administrative agent, subject to Bankruptcy Court approval, which is necessary and
appropriate to the conduct, promotion, and attainment of the businesses of each Company; and
be it further

              RESOLVED, that the form, terms, and provisions of each of (a) the DIP Credit
Agreement and (b) any and all of the other agreements, certificates, documents and instruments
authorized, executed, delivered, reaffirmed, verified, or filed in connection with the DIP



                                                2 
WEIL:\96595931\14\64643.0003 
                   Case 18-11699-MFW     Doc 1        Filed 07/22/18   Page 8 of 28
 



Financing (together with the DIP Credit Agreement, collectively, the “DIP Financing
Documents”) and each Company’s performance of its obligations thereunder, including the
borrowings and guarantees contemplated thereunder, are hereby, in all respects confirmed,
ratified, and approved; and be it further

              RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to negotiate and approve the terms,
provisions of and performance of, and to prepare, execute, and deliver the DIP Financing
Documents; and be it further

               RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to grant security interests in, and liens on,
any and all property of the Company as collateral pursuant to the DIP Financing Documents to
secure all of the obligations and liabilities of the Company thereunder to the Lenders and to
authorize, execute, verify, file or deliver to the Lenders all agreements, documents, and
instruments required by the Lenders in connection with the foregoing; and be it further

                RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to take all such further actions, including to
pay all fees and expenses in accordance with the terms of the DIP Financing Documents, which
shall, in such Authorized Person’s judgment, be necessary, proper or advisable to perform such
Company’s obligations under or in connection with the DIP Financing Documents and the
transactions contemplated therein and to carry out fully the intent of the foregoing resolutions;
and be it further

               RESOLVED, that any Authorized Person, in each case, acting singly or jointly,
be, and each hereby is, authorized, empowered, and directed, with full power of delegation, in
the name and on behalf of the applicable Company, to execute and deliver any amendments,
supplements, modifications, renewals, replacements, consolidations, substitutions and extensions
of any of the DIP Financing Documents which shall, in such Authorized Person’s judgment, be
necessary, proper or advisable; and be it further

Retention of Advisors

               RESOLVED, that, in connection with the Chapter 11 Case, any Authorized
Person, in each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and
directed, with full power of delegation, in the name and on behalf of such Company, to employ
and retain all assistance by legal counsel, accountants, financial advisors, investment bankers,
and other professionals on behalf of such Company that such Authorized Person deems
necessary, appropriate, or advisable in connection with, or in furtherance of, the Chapter 11
Case, with a view to the successful prosecution of the Chapter 11 Case (such acts to be
conclusive evidence that such Authorized Person deemed the same to meet such standard); and
be it further




                                                 3 
WEIL:\96595931\14\64643.0003 
                   Case 18-11699-MFW      Doc 1        Filed 07/22/18   Page 9 of 28
 



               RESOLVED, that the law firm of Weil, Gotshal & Manges LLP, located at 767
Fifth Avenue, New York, New York 10153, is hereby retained as counsel for each Company in
its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the law firm of Richards, Layton & Finger, P.A., located at
One Rodney Square, 920 North King Street, Wilmington, Delaware 19801, is hereby retained as
local counsel for each Company in its Chapter 11 Case, subject to Bankruptcy Court approval;
and be it further

              RESOLVED, that the firm of Huron Consulting Services, LLC, located at 550
W. Van Buren Street, Chicago, Illinois 60607, is hereby retained as financial advisor for each
Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

              RESOLVED, that the firm of Guggenheim Securities, LLC, located at 330
Madison Avenue, New York, New York 10017, is hereby retained as investment banker for each
Company in its Chapter 11 Case, subject to Bankruptcy Court approval; and be it further

                RESOLVED, that the firm of Epiq Corporate Restructuring, LLC, located at 777
Third Avenue, New York, New York 10017, is hereby retained as claims, noticing and
solicitation agent, and administrative advisor for each Company in its Chapter 11 Case, subject
to Bankruptcy Court approval; and be it further

               RESOLVED, that, with respect to each Company, any Authorized Person, in
each case, acting singly or jointly, be, and each hereby is, authorized, empowered, and directed,
with full power of delegation, in the name and on behalf of such Company, to take and perform
any and all further acts and deeds, including (a) the payment of any consideration, (b) the
payment of fees, expenses and taxes such Authorized Person deems necessary, appropriate, or
desirable, and (c) negotiating, executing, delivering, performing, and filing any and all
documents, motions, pleadings, applications, declarations, affidavits, schedules, statements, lists,
papers, agreements, certificates or instruments (or any amendments or modifications thereto) in
connection with the engagement of professionals contemplated by the foregoing resolutions
(such acts to be conclusive evidence that such Authorized Person deemed the same to meet such
standard); and be it further

General

                RESOLVED, that, with respect to each Company, any Authorized Person, any
one of whom may act without the joinder of any of the others, hereby is authorized, empowered,
and directed, with full power of delegation, in the name and on behalf of such Company, to take
and perform any and all further acts or deeds, including (a) the negotiation of such additional
agreements, amendments, modifications, supplements, reports, documents, instruments,
applications, notes or certificates not now known but which may be required, (b) the execution,
delivery and filing (if applicable) of any of the foregoing, and (c) the payment of all fees, consent
payments, taxes, and other expenses as any such Authorized Person, in his or her sole discretion,
may approve or deem necessary, appropriate, or desirable to carry out the intent and accomplish
the purposes of the foregoing resolutions and the transactions contemplated thereby, all of such




                                                  4 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW     Doc 1    Filed 07/22/18    Page 10 of 28
 



actions, executions, deliveries, filings, and payments to be conclusive evidence of such approval
or that such Authorized Person deemed the same to meet such standard; and be it further

                RESOLVED, that any and all past actions heretofore taken by any Authorized
Person, any director, manager, or member of any Company in the name and on behalf of such
Company in furtherance of any or all of the preceding resolutions be, and the same hereby are,
ratified, confirmed, and approved in all respects.

                                  [Signature Pages to Follow]




                                                5 
WEIL:\96595931\14\64643.0003 
              Case 18-11699-MFW          Doc 1     Filed 07/22/18     Page 11 of 28



 
               IN WITNESS WHEREOF, the undersigned, being all of the members of the
board of directors of The NORDAM Group, Inc., hereby consent to, adopt, and authorize the
foregoing resolutions as of the date first written above.



BOARD OF DIRECTORS OF THE NORDAM GROUP, INC.:



/s/ Paul Kenneth Lackey, Jr.                            /s/ Milann H. Siegfried

Paul Kenneth Lackey, Jr.                                Milann H. Siegfried

/s/ T. Hastings Siegfried                               /s/ Meredith Siegfried Madden

T. Hastings Siegfried                                   Meredith Siegfried Madden

/s/ J. Terrell Siegfried                                /s/ Bailey J. Siegfried

J. Terrell Siegfried                                    Bailey J. Siegfried

/s/ Lynn Brubaker                                       /s/ William E. Lobeck

Lynn Brubaker                                           William E. Lobeck

/s/ William L. Peacher                                  /s/ Jonathan M. Schofield

William L. Peacher                                      Jonathan M. Schofield

/s/ Raegen H. Siegfried                                 /s/ Michael J. Shonka

Raegen H. Siegfried                                     Michael J. Shonka

/s/ Thomas J. Allison                                   /s/ David L. Eaton

Thomas J. Allison                                       David L. Eaton




            [Signature Page to Joint Unanimous Written Consent – The NORDAM Group, Inc.] 
 
                  Case 18-11699-MFW         Doc 1    Filed 07/22/18     Page 12 of 28



                IN WITNESS WHEREOF, the undersigned, being the sole member of Nacelle
Manufacturing 1 LLC, hereby consents to, adopts, and authorizes the foregoing resolutions as of
the date first written above.



SOLE MEMBER OF NACELLE MANUFACTURING 1 LLC:



                                                        THE NORDAM GROUP, INC.




                                                           /s/ Meredith Siegfried Madden

                                                           Meredith Siegfried Madden




            [Signature Page to Joint Unanimous Written Consent – Nacelle Manufacturing 1 LLC] 
 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW         Doc 1     Filed 07/22/18     Page 13 of 28



                 IN WITNESS WHEREOF, the undersigned, being the sole member of Nacelle
Manufacturing 23 LLC, hereby consents to, adopts, and authorizes the foregoing resolutions as
of the date first written above.



SOLE MEMBER OF NACELLE MANUFACTURING 23 LLC:



                                                         THE NORDAM GROUP, INC.




                                                           /s/ Meredith Siegfried Madden

                                                           Meredith Siegfried Madden




            [Signature Page to Joint Unanimous Written Consent – Nacelle Manufacturing 23 LLC] 
 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW           Doc 1     Filed 07/22/18      Page 14 of 28



               IN WITNESS WHEREOF, the undersigned, being all of the members of the
board of managers and the sole member of PartPilot LLC, hereby consent to, adopt, and
authorize the foregoing resolutions as of the date first written above.



BOARD OF MANAGERS OF PARTPILOT LLC:




                                                              /s/ Meredith Siegfried Madden

                                                              Meredith Siegfried Madden



                                                              /s/ Michael R. Hughett
                                                              Michael R. Hughett



                                                              /s/ J. Terrell Siegfried
                                                              J. Terrell Siegfried




SOLE MEMBER OF PARTPILOT LLC:



                                                           THE NORDAM GROUP, INC.




                                                              /s/ Meredith Siegfried Madden

                                                              Meredith Siegfried Madden




                      [Signature Page to Joint Unanimous Written Consent – PartPilot LLC] 
 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW           Doc 1     Filed 07/22/18     Page 15 of 28



                IN WITNESS WHEREOF, the undersigned, being all of the members of the
board of directors of TNG Disc, Inc., hereby consent to, adopt, and authorize the foregoing
resolutions as of the date first written above.



BOARD OF DIRECTORS OF TNG DISC, INC.:




                                                             /s/ T. Hastings Siegfried

                                                             T. Hastings Siegfried



                                                             /s/ Michael R. Hughett
                                                             Michael R. Hughett



                                                             /s/ J. Terrell Siegfried
                                                             J. Terrell Siegfried




                     [Signature Page to Joint Unanimous Written Consent – TNG DISC, Inc.] 
 
WEIL:\96595931\14\64643.0003 
                                     Case 18-11699-MFW                        Doc 1              Filed 07/22/18               Page 16 of 28



     Fill in this information to identify the case:

     Debtor name: The NORDAM Group, Inc.
     United States Bankruptcy Court for the:                   District of Delaware
                                                                              (State)
     Case number (If known):

                                                                                                                                                                 ☐ Check if this is an
                                                                                                                                                                 amended filing


     Official Form 204
     Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors
     Who Have the 30 Largest Unsecured Claims and Are Not Insiders
                                                                                                                                                                                  12/15

     A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
     disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
     secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30
     largest unsecured claims.
Name of creditor and complete mailing        Name, telephone number, and                Nature of the claim       Indicate if      Amount of unsecured claim
address, including zip code                  email address of creditor contact          (for example, trade       claim is         If the claim is fully unsecured, fill in only unsecured 
                                                                                        debts, bank loans,        contingent,      claim amount. If claim is partially secured, fill in total 
                                                                                        professional services,    unliquidated,    claim amount and deduction for value of collateral or 
                                                                                        and government            or disputed      setoff to calculate unsecured claim. 
                                                                                        contracts) 
                                                                                                                                    Total claim, if        Deduction for     Unsecured  claim
                                                                                                                                      partially               value of 
                                                                                                                                      secured               collateral or 
                                                                                                                                                               setoff
1        Hexcel Corporation                  Attn.: Lise Salustri                       Trade                                                                                $5,101,970.95
         281 Tresser Boulevard               Phone: 925‐520‐4608  
         16th Floor                          Email: Lise.Salustri@hexcel.com 
         Stamford, CT 06901‐3261 USA 
2        Infosys Limited                     Attn.: Venkateswarlu (Venkat)              Trade                                                                                $3,689,864.41
         Hebbal Electronics City             Devarapalli 
         Mysore 10 570027 India              Phone: 469‐412‐5585  
                                             Email: 
                                             vdevarapalli@nordam.com 
3        Cytec Engineered Materials, Inc.    Attn.: David Fritz                         Trade                                                                                $2,032,420.01
         285 East Technology Circle          Phone: 480‐730‐2180 
         Suite 300                           Email: david.fritz@solvay.com 
         Tempe, AZ 85284 USA 
4        MSC Industrial Supply Co, Inc.      Attn.: Kerri Miller                        Trade                                                                                $1,996,520.99
         75 Maxess Road                      Phone: 918‐712‐4340  
         Melville, NY 11747‐3151 USA         Email: MillerKe@mscdirect.com 


5        KLX, Inc.                           Attn.: Jerrad Brenzikofer                  Trade                                                                                $1,913,571.78
         1300 Corporate Center Way           Phone: 316‐630‐4963  
         Wellington, FL 33414 USA            Email: 
                                             JERRAD.BRENZIKOFER@KLX.COM 
6        Arrowhead Products                  Attn.: Margo Snowden                       Trade                                                                                $1,695,775.23
         4411 Katella Ave                    Phone: 714‐822‐2556 
         Los Alamitos, CA 90720 USA          Email: 
                                             Msnowden@ArrowheadProducts
                                             .net 
7        Warner Robins Air Logistics         Attn.: Eric Armour                         Trade                                                                                $1,559,068.37
         Complex                             Phone: 478‐222‐3206  
         420 Richard Ray Blvd                Email: ERIC.ARMOUR@US.AF.MIL 
         Warner Robins, GA31098‐1640 
         USA 


     Official Form 204                              List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                               Page 1

      
     WEIL:\96595931\14\64643.0003 
                                      Case 18-11699-MFW                    Doc 1        Filed 07/22/18               Page 17 of 28
      



Name of creditor and complete mailing     Name, telephone number, and          Nature of the claim       Indicate if      Amount of unsecured claim
address, including zip code               email address of creditor contact    (for example, trade       claim is         If the claim is fully unsecured, fill in only unsecured 
                                                                               debts, bank loans,        contingent,      claim amount. If claim is partially secured, fill in total 
                                                                               professional services,    unliquidated,    claim amount and deduction for value of collateral or 
                                                                               and government            or disputed      setoff to calculate unsecured claim. 
                                                                               contracts) 
                                                                                                                           Total claim, if        Deduction for     Unsecured  claim
                                                                                                                             partially               value of 
                                                                                                                             secured               collateral or 
                                                                                                                                                      setoff
8        A&G Machine, Inc.                Attn.: Matthew Bakken                Trade                                                                                $1,254,551.98
         1231 37th Street                 Phone: 253‐887‐8433  
         NW Auburn, WA 98001‐2417         Email: Matthew@agmach.com 
         USA 
9        Visioneering, Inc.               Attn.: Patrick Guido                 Trade                                                                                $1,224,073.00
         2055 Taylor Road                 Phone: 248‐622‐5622  
         Auburn Hills, MI 48326 USA       Email: pquido@vistool.com 


10       Pryer Aerospace LLC‐Tulsa        Attn: Brent Pryer                    Trade                                                                                $1,190,203.34
         2230 North Sheridan Road         Phone: 918‐835‐8885 
         Tulsa, OK 74115 USA              Email: sales@pryer.aero 


11       Microsoft Corporation            Attn.: Brian Peralta                 Trade                                                                                $1,184,082.16
         7100 North State Hwy 161         Phone: 425‐897‐1131 
         Irving, TX 75039 USA             Email: v‐briper@microsoft.com 


12       Ducommun Labarge                 Attn.: Leslie Hall                   Trade                                                                                $1,077,807.75
         Technologies, Inc.               Phone: 417‐781‐3200 x77836, 
         1505 Maiden Lane                 Email: Lhall@ducommun.com 
         Joplin, MO 64804 USA 
13       Baker Aerospace Tooling &        Attn.: Jay Held                      Trade                                                                                $1,057,615.00
         Machining                        Phone: 586‐286‐4900 x358, 
         16936 Enterprise Drive           Email: 
         Macomb, MI 48044 USA             jheld@bakerindustriesinc.com 
14       APA Aviation Staffing LLC        Attn.: Nicole Minter                 Staffing Agency                                                                      $1,024,014.45
         4150 International Plaza         Phone: 817‐289‐2754  
         Fort Worth, TX 76109 USA         Email: nminter@apaservices.net 


15       Green Metal Fabricators          Attn.: Rebecca Green                 Trade                                                                                $949,217.54
         906 West Skelly Drive            Phone: 918‐446‐1571 
         Tulsa, OK 74107 USA              Email: 
                                          Rebecca.gmf@tulsacoxmail.com 
16       Verstar Group, Inc.              Attn.: Karly Bolton                  Trade                                                                                $948,477.00
         50305 Patricia Street            Phone: 586‐265‐2575 
         Chesterfield, MI 48051 USA       Email: 
                                          kbolton@thatsaccurate.com 
17       Goodrich Aerostructures Group    Attn.: Terri Shook                   Trade                                                                                $933,547.00 
         850 Lagoon Drive                 Phone: 918‐651‐3525  
         Chula Vista, CA 91910 USA        Email: 
                                          FSSCASHREMIT@UTAS.UTC.COM 
18       Advanced Machine &               Attn.: Vanessa Hester                Trade                                                                                $888,823.02
         Fabricating, Inc.                Phone: 918‐664‐5410  
         11212 East 112th Street          Email: vhester@advcosinc.com 
         North Owasso, OK 74055 USA  
19       Aviall, Inc.                     Attn.: Connie Moore                  Trade                                                                                $801,510.23
         2750 Regent Boulevard            Phone: 972‐586‐1728 
         Dallas, TX 75261‐9048 USA        Email: connie.moore@aviall.com 




     Official Form 204                           List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                         Page 2

      
     WEIL:\96595931\14\64643.0003 
                                    Case 18-11699-MFW                       Doc 1        Filed 07/22/18               Page 18 of 28
     



Name of creditor and complete mailing      Name, telephone number, and          Nature of the claim       Indicate if      Amount of unsecured claim
address, including zip code                email address of creditor contact    (for example, trade       claim is         If the claim is fully unsecured, fill in only unsecured 
                                                                                debts, bank loans,        contingent,      claim amount. If claim is partially secured, fill in total 
                                                                                professional services,    unliquidated,    claim amount and deduction for value of collateral or 
                                                                                and government            or disputed      setoff to calculate unsecured claim. 
                                                                                contracts) 
                                                                                                                            Total claim, if        Deduction for     Unsecured  claim
                                                                                                                              partially               value of 
                                                                                                                              secured               collateral or 
                                                                                                                                                       setoff
20      Green Country Aircraft Exhaust     Attn.: Wes Jones                     Trade                                                                                $790,661.41
        1876 North 106th East Ave          Phone: 918‐832‐1769  
        Tulsa, OK 74116 USA                Email: accountingdept@green 
                                           countryaircraft.com 
21      Fiber Pad, Inc.                    Attn.: Geneva Phillips               Trade                                                                                $746,332.01
        17260 East Young Street            Phone: 918‐438‐7430  
        Tulsa, OK 74116 USA                Email: gphillips@fiberpad.com 


22      OMA SPA                            Attn.: Leonardo Borgna               Trade                                                                                $733,972.95
        Via Cagliari 20                    Phone: +39 0742 347576 
        Foligno Pg 06034, Italy            Email: l.borgna@omafoligno.it 


23      Coast Composites LLC               Attn.: Jacob Salas                   Trade                                                                                $731,250.00
        1395 S Lyon Street                 Phone: 949‐455‐0665  
        Santa Ana, CA 92705 USA            Email: 
                                           Jacob.Salas@ascentaerospace.co
                                           m 
24      Eaton Aeroquip LLC                 Attn.: Shari Harlett                 Trade                                                                                $707,707.93
        300 S East Ave                     Phone: 616‐831‐8361 
        Jackson, MI 49203 USA              Email: shariharlett@eaton.com 


25      Sargent Controls & Aerospace       Attn.: Carrasco Renee                Trade                                                                                $685,443.00
        5675 West Burlingame Road          Phone: 520‐744‐1000 x4711  
        Tucson, AZ 85750 USA               Email: Rcarrasco@sargentaero 
                                           space.com 
26      Aeron Group LLC                    Attn.: Michelle Ivey                 Trade                                                                                $670,535.78
        1901 North Willow Ave              Phone: 918‐294‐1167  
        Broken Arrow, OK 74012 USA         Email: 
                                           michelleivey@aerongroup.com 
27      Seyer Industries, Inc.             Attn.: Bethany Freeman               Trade                                                                                $570,382.00
        66 Patmos Court                    Phone: 636‐229‐4166  
        St Peters, MO 63376 USA            Email: bfreeman@seyerind.com 


28      Airbus Service Co, Inc.            Attn.: Elizabeth Gilmore             Trade                                                                                $562,503.46
        2550 Wasser Terrace                Phone: 703‐326‐3633 
        Herndon, VA 20171 USA              Email: 
                                           elizabeth.gilmore@airbus.com 
29      Rolls Royce North America, Inc.    Attn.: Jamie Finlay                  License Royalty           Contingent,                                                N/A
        1421 Sweet Gum Circle              Phone: +44 (0)141 626 8245,                                    unliquidated, 
        Keller, TX 76248 USA               Email: jamie.finlay@rolls‐                                     disputed 
                                           royce.com 
30      Pratt & Whitney Canada             Attn: David P.W. Emmerling           Contract                  Contingent,                                                N/A
        1000 Marie‐Victorin Boulevard                Irene Makris                                         unliquidated, 
        Mail Code 01AA4                              Neil G. Mitchill, Jr.                                disputed 
        Longueuil, Quebec                  Phone: 860‐565‐5839 
        J4G 1A1 Canada                                   450‐677‐9411 
                                                         860‐565‐4048 
        400 Main Street                    Email:  
        East Hartford, CT 06118 USA        david.emmerling@pw.utc.com 
                                           Irene.markris@pwc.ca 
                                           Neil.Mitchill@pw.utc.com 



    Official Form 204                             List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders                                          Page 3

     
    WEIL:\96595931\14\64643.0003 
                          Case 18-11699-MFW                    Doc 1          Filed 07/22/18          Page 19 of 28



Fill in this information to identify the case:

Debtor name:   The NORDAM Group, Inc.
United States Bankruptcy Court for the:               District of Delaware
                                                                    (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct to the best of my information and belief:
        ☐     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐     Schedule H: Codebtors (Official Form 206H)
        ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐     Amended Schedule ____
             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)
        ☐      Other document that requires a declaration
         
        I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.


        Executed on 07/22/2018
                                                        /s/ John C. DiDonato
                                                         Signature of individual signing on behalf of debtor
                      MM /DD /YYYY
                                                         John C. DiDonato
                                                         Printed name

                                                         Chief Restructuring Officer
                                                         Position or relationship to debtor




 
 


Official Form 202                                Declaration Under Penalty of Perjury for Non-Individual Debtors

WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW              Doc 1        Filed 07/22/18   Page 20 of 28
 



                                UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :       Chapter 11
                                                             :
THE NORDAM GROUP, INC.,                                      :       Case No. 18-______ (___)
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

         CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
         TO FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007 AND 7007.1

                    Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy

Procedure, attached hereto as Exhibit A is an organizational chart reflecting all of the ownership

interests in The NORDAM Group, Inc. (“NORDAM”) and its affiliated debtors, as debtors and

debtors in possession in the above-captioned chapter 11 cases (collectively, the “Debtors”). The

Debtors respectfully represents as follows:

          1. To the best of the Debtors’ knowledge and belief, no entities own more than 10% of

               NORDAM’s equity interests other than:

                                    ENTITY                     PERCENTAGE OWNERSHIP

                        Robin Siegfried Revocable Trust                  16.01%

                        Milann H. Siegfried Revocable Trust              15.25%

                        Raegen Siegfried Revocable Trust                 11.17%


          2. NORDAM owns 100% of the equity interests of:

                    a. Nacelle Manufacturing 1 LLC;

                    b. Nacelle Manufacturing 23 LLC;

                    c. PartPilot LLC; and

                    d. TNG DISC, Inc.

 
 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW   Doc 1   Filed 07/22/18   Page 21 of 28
 


                                        Exhibit A

                                  Organizational Chart




 
WEIL:\96595931\14\64643.0003 
                               Case 18-11699-MFW   Doc 1   Filed 07/22/18   Page 22 of 28
                                                                                             




                                                                                                 


WEIL:\96595931\14\64643.0003
                          Case 18-11699-MFW                  Doc 1          Filed 07/22/18           Page 23 of 28
 


Fill in this information to identify the case:

Debtor name The NORDAM Group, Inc.
United States Bankruptcy Court for the:              District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct to the best of my information and belief:

        ☐     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐     Schedule H: Codebtors (Official Form 206H)
        ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐     Amended Schedule ____
        ☐     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)
             Other document that requires a declaration Corporate Ownership Statement
         
        I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.


        Executed on 07/22/2018
                                                      /s/ John C. DiDonato
                                                       Signature of individual signing on behalf of debtor
                      MM / DD /YYYY
                                                       John C. DiDonato
                                                       Printed name

                                                       Chief Restructuring Officer
                                                       Position or relationship to debtor




 

Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
 
WEIL:\96595931\14\64643.0003 
                          Case 18-11699-MFW                    Doc 1   Filed 07/22/18     Page 24 of 28
 



                                                UNITED STATES BANKRUPTCY COURT
                                                     DISTRICT OF DELAWARE

------------------------------------------------------------ x
                                                             :
In re                                                        :                 Chapter 11
                                                             :
THE NORDAM GROUP, INC.,                                      :                 Case No. 18-______ (___)
                                                             :
                                    Debtor.                  :
                                                             :
------------------------------------------------------------ x

                                                 LIST OF EQUITY SECURITY HOLDERS1

        Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, the following
identifies all holders having a direct or indirect ownership interest, of the above-captioned debtor
in possession (the “Debtor”).

Check applicable box:

☐ There are no equity security holders or corporations that directly or indirectly own 10% or
more of any class of the debtor’s equity interest.

☒ The following are the debtor’s equity security holders (list holders of each class, showing the
number and kind of interests registered in the name of each holder, and the last known address or
place of business of each holder):

        Name and Last Known Address of Equity                              Kind/Class           Number of Interests
                   Interest Holder                                         of Interest               Held2

                    Siegfried Family Voting Trust
                                                                            Series A
                     6910 North Whirlpool Drive                           Voting Shares               1,493
                       Tulsa, Oklahoma 74117




                                                            
1
 This list serves as the required disclosure by the Debtor pursuant to Rule 1007 of the Federal Rules of Bankruptcy
Procedure.
2
    As of July 15, 2018.



 
 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW               Doc 1   Filed 07/22/18      Page 25 of 28
 




     Name and Last Known Address of Equity                    Kind/Class            Number of Interests
                Interest Holder                               of Interest                Held2

                                                               Series A
          Milann H. Siegfried Revocable Trust                                              1,000
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                         4,924.773
                                                           Nonvoting Shares

           Milann H. Siegfried Exempt Trust
                                                              Series B                  2,415.000
              6910 North Whirlpool Drive
                                                           Nonvoting Shares
                Tulsa, Oklahoma 74117

        Milann H. Siegfried Non-Exempt Trust
                                                              Series B                   805.000
              6910 North Whirlpool Drive
                                                           Nonvoting Shares
                Tulsa, Oklahoma 74117

                                                               Series A
          Ray H. Siegfried III Revocable Trust                                                51
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                        2,298.559
                                                           Nonvoting Shares

                                                               Series A
     Theodore Hastings Siegfried Revocable Trust                                              51
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                        2,298.559
                                                           Nonvoting Shares

                                                               Series A
     Meredith Siegfried Madden Revocable Trust                                                51
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                        2,298.559
                                                           Nonvoting Shares

                                                               Series A
      Milann Siegfried Williams Revocable Trust                                               51
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                        2,298.559
                                                           Nonvoting Shares

                                                               Series A
         Jude Terrell Siegfried Revocable Trust                                               51
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                        2,298.559
                                                           Nonvoting Shares

                                                               Series A
        Bailey Joseph Siegfried Revocable Trust                                               51
                                                             Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                         Series B
                                                                                        2,298.559
                                                           Nonvoting Shares




 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW              Doc 1   Filed 07/22/18      Page 26 of 28
 




       Name and Last Known Address of Equity                 Kind/Class            Number of Interests
                  Interest Holder                            of Interest                Held2

                                                              Series A
            Robin Siegfried Revocable Trust                                               913
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       5,307.848
                                                          Nonvoting Shares

          Cherrie L. Siegfried Revocable Trust
                                                             Series B                   336.965
              6910 North Whirlpool Drive
                                                          Nonvoting Shares
                Tulsa, Oklahoma 74117

                                                              Series A
           Raegen Siegfried Revocable Trust                                                  87
                                                            Voting Shares
              6910 North Whirlpool Drive
                Tulsa, Oklahoma 74117                        Series B
                                                                                       4,254.627
                                                          Nonvoting Shares

      Raymond Henry Siegfried III Exempt Child’s
                       Trust
                                                             Series B                    402.50
              6910 North Whirlpool Drive                  Nonvoting Shares
                Tulsa, Oklahoma 74117

    Raymond Henry Siegfried III Non-Exempt Child’s
                       Trust
                                                             Series B                   134.167
              6910 North Whirlpool Drive                  Nonvoting Shares
                Tulsa, Oklahoma 74117

    Theodore Hastings Siegfried Exempt Child’s Trust
                                                             Series B                    402.50
              6910 North Whirlpool Drive
                                                          Nonvoting Shares
                Tulsa, Oklahoma 74117

    Theodore Hastings Siegfried Non-Exempt Child’s
                         Trust
                                                             Series B                   134.167
              6910 North Whirlpool Drive                  Nonvoting Shares
                Tulsa, Oklahoma 74117

    Meredith Regina Siegfried Exempt Child’s Trust
                                                             Series B                    402.50
              6910 North Whirlpool Drive
                                                          Nonvoting Shares
                Tulsa, Oklahoma 74117

     Meredith Regina Siegfried Non-Exempt Child’s
                         Trust
                                                             Series B                   134.167
              6910 North Whirlpool Drive                  Nonvoting Shares
                Tulsa, Oklahoma 74117




 
WEIL:\96595931\14\64643.0003 
                  Case 18-11699-MFW             Doc 1   Filed 07/22/18      Page 27 of 28
 




       Name and Last Known Address of Equity                Kind/Class            Number of Interests
                  Interest Holder                           of Interest                Held2

    Milann Helferich Siegfried Exempt Child’s Trust
                                                            Series B                    402.50
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

     Milann Helferich Siegfried Non-Exempt Child’s
                         Trust
                                                            Series B                   134.167
              6910 North Whirlpool Drive                 Nonvoting Shares
                Tulsa, Oklahoma 74117

       Jude Terrell Siegfried Exempt Child’s Trust
                                                            Series B                    402.50
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

    Jude Terrell Siegfried Non-Exempt Child’s Trust
                                                            Series B                   134.167
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

      Bailey Joseph Siegfried Exempt Child’s Trust
                                                            Series B                    402.50
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117

    Bailey Joseph Siegfried Non-Exempt Child’s Trust
                                                            Series B                   134.167
              6910 North Whirlpool Drive
                                                         Nonvoting Shares
                Tulsa, Oklahoma 74117




 
WEIL:\96595931\14\64643.0003 
                          Case 18-11699-MFW                  Doc 1          Filed 07/22/18           Page 28 of 28
 



Fill in this information to identify the case:

Debtor name:   The NORDAM Group, Inc.
United States Bankruptcy Court for the:              District of Delaware
                                                                  (State)
Case number (If known):




Official Form 202
    Declaration Under Penalty of Perjury for Non-Individual Debtors                                                            12/15


An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and
submit this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the
document, and any amendments of those documents. This form must state the individual’s position or relationship to the debtor,
the identity of the document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING – Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C.
§§ 152, 1341, 1519, and 3571.


               Declaration and signature



        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the
        partnership; or another individual serving as a representative of the debtor in this case.
        I have examined the information in the documents checked below and I have a reasonable belief that the information is
        true and correct to the best of my information and belief:
        ☐     Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
        ☐     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
        ☐     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
        ☐     Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
        ☐     Schedule H: Codebtors (Official Form 206H)
        ☐     Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
        ☐     Amended Schedule ____
        ☐     Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders
              (Official Form 204)
             Other document that requires a declaration List of Equity Holders
         
        I declare under penalty of perjury that the foregoing is true and correct to my knowledge, information, and belief.


        Executed on 07/22/2018
                                                      /s/ John C. DiDonato
                                                       Signature of individual signing on behalf of debtor
                      MM / DD /YYYY
                                                       John C. DiDonato
                                                       Printed name

                                                       Chief Restructuring Officer
                                                       Position or relationship to debtor




 
 



Official Form 202                         Declaration Under Penalty of Perjury for Non-Individual Debtors
 
WEIL:\96595931\14\64643.0003 
